Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 1 of 13 PageID #: 29




                       EXHIBIT 1
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 2 of 13 PageID #: 30

                                                                                            US0075993.79B2


(12) United States Patent                                               (10) Patent No.:                   US 7,599,379 B2
       Kelly et al.                                                     (45) Date of Patent:                         *Oct. 6, 2009
(54) REGISTERING STATIONS BETWEEN                                    (58) Field of Classification Search ................. 370/331;
        PROTOCOLS                                                                                                                 455/433
                                                                              See application file for complete search history.
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(73) Assignee: Hewlett-Packard Development                                   6,487.286 B1 * 1 1/2002 Reaves et al. ............ 379,221.1
                    Company, L.P., Houston, TX (US)                          6,526,033 B1      2/2003 Wang et al.
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(*) Notice:         Subject to any disclaimer, the term of this       2002/0169883 A1* 1 1/2002 Bright et al. ................ TO9/230
                    patent is extended or adjusted under 35                         OTHER PUBLICATIONS
                    U.S.C. 154(b) by 1139 days.
                                                                     GSM/ANSI-136 Network Interworking Specification. Phase 1, Ver
                    This patent is Subject to a terminal dis-        sion 3.0. Dec. 18, 2000. GAIT Interoperability Team. Apr. 11, 2007.*
                    claimer.
                                                                     * cited by examiner
(21) Appl. No.: 10/426,673                                           Primary Examiner Ayaz R. Sheikh
                                                                     Assistant Examiner—Sori A. Aga
(22) Filed:     Apr. 30, 2003
                                                                     (57)                       ABSTRACT
(65)                   Prior Publication Data
       US 2004/O21861.0 A1         Nov. 4, 2004                      A wireless system including a first network protocol, a second
                                                                     network protocol, and an interoperability node. The interop
(51) Int. Cl.                                                        erability node operable on the system to register a station
     H04L 2/28                 (2006.01)                             pending registration at one of the network protocols.
        HO41 3/16              (2006.01)
(52) U.S. Cl. ........................ 370/401; 370/466; 370/331                       16 Claims, 5 Drawing Sheets


                                                                                                                            104-7




                                                                                                               SECOND
       REQUESTING                   SERVING                        INTEROP
                                                                                                                OTHER
         STATION                    NETWORK                         NODE                                      NETWORK
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 3 of 13 PageID #: 31


U.S. Patent          Oct. 6, 2009   Sheet 1 of 5          US 7,599,379 B2
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 4 of 13 PageID #: 32


U.S. Patent          Oct. 6, 2009                         US 7,599,379 B2




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Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 5 of 13 PageID #: 33
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 6 of 13 PageID #: 34


U.S. Patent          Oct. 6, 2009   Sheet 4 of 5          US 7,599,379 B2
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 7 of 13 PageID #: 35


U.S. Patent          Oct. 6, 2009   Sheet 5 of 5          US 7,599,379 B2




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Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 8 of 13 PageID #: 36


                                                       US 7,599,379 B2
                               1.                                                                  2
         REGISTERING STATIONS BETWEEN                                     FIG. 2A is a block diagram illustrating an embodiment of
                  PROTOCOLS                                             a GSM network.
                                                                          FIG. 2B is a block diagram illustrating an embodiment of
                      INTRODUCTION                                      an ANSI network.
                                                                          FIG. 3 is a scenario diagram illustrating an embodiment of
   Traditionally, wireless devices could only access a network          the communication between a GSM network and an ANSI
by utilizing eithera Voice or data connection. Currently, in the        network for registering a station.
wireless industry, devices have been created that can utilize             FIG. 4 is a scenario diagram illustrating another embodi
voice and/or data connections. This versatility is limited by  ment of the communication between an ANSI network and a
several structural limitations within the networks to which 10 GSM network for registering a station.
these devices connect. For example, when a session is to be               FIG. 5 is a block diagram of an embodiment which depicts
initiated by a device, the device is typically programmed to            the interoperability of a number of networks.
understand a single network protocol and therefore it cannot
readily communicate with other networks. Additionally,                                 DETAILED DESCRIPTION
some networks do not service the entire area in which a device
                                                                   15
may be utilized and therefore, there are times when the device           Embodiments of the present invention provide cross pro
is inaccessible on a particular network.
   With each advance of a new protocol into the industry or tocol            interoperability for registering a station on a network
                                                                      regardless   of the protocol of the requesting station or net
the advance of an existing protocol into a new coverage area,
the infrastructure providing communication between devices work. In this way, a communications session can be created
must be changed to accommodate the new or newly available between the requesting station or network and any of a num
protocol. In order to change the infrastructure without requir ber of additional networks in which the station would require
ing all of their subscribers to purchase devices compatible registration in order to deliver features, functionality, or Ser
with a protocol not currently available in their area, many vice.
providers are trying to update their existing infrastructure to          Embodiments can be performed by software, application
Support both existing protocol and the newly available proto 25 modules, and computer executable instructions operable on
col, at least temporarily. Another approach has been to over the systems and devices shown herein or otherwise. The
lap a new protocol infrastructure over an area covered by an invention, however, is not limited to any particular operating
existing protocol. In this way, both, the users of the existing environment or to Software written in a particular program
protocol and the users of the newly available protocol, can ming language. Software, application modules and/or com
utilize their devices in the same or similar coverage areas. 30 puter executable instructions, Suitable for carrying out
   Based upon this approach, currently, several networks Sup embodiments of the present invention, can be resident in one
porting voice, data, and/or video oftentimes overlap each or more devices or locations or in several and even many
other, at least partially. In this situation it could be possible for locations.
the device to switch from communicating with a first network             Unless explicitly stated, the method embodiments
to a second network. In some situations, it may be less expen 35 described herein are not constrained to a particular order or
sive for a user to communicate on one network versus the              sequence. Additionally, some of the described method
other, so it would be desirable to switch to the least expensive embodiments or elements thereof can occur or be performed
network, when possible.                                               at the same point in time.
   However, when two different types of networks are con                 As one of ordinary skill in the art will appreciate upon
nected and need to communicate information from one to 40 reading this disclosure, a network infrastructure can Supporta
another, a translator must be provided to interpret the infor communications session. Communications sessions include,
mation from one set of network protocols to another. Cur for example, data transfer, Voice transfer, video transfer, and
rently, each time a new network is connected to the system, a a mix of data, Voice, and/or video, to name a few.
new translator, or gateway, needs to be installed to do the              The infrastructure embodiments are operable to initiate a
translating from each of the existing networks connected to 45 communications session from one station (first requesting
the system to and from the new network.                               station) to another station (target station). A station can be any
   For example, when a global system for mobile communi interface equipment used to receive and transmit information
cations (GSM) network is connected to another network to and/or from a user. Examples of stations include mobile
(such as an ANSI network), the two networks need to be devices, handsets, or computer terminals, among others. The
connected with a translator between them. Further, when a 50 stations can be capable of registering a station on one or more
data network (such as the Internet) is connected to the GSM networks.
ANSI system, a translator needs to be interposed between the             Registration procedures can be initiated from Stations that
GSM and the data network as well as another translator                are operable on one or more of a variety of serving network
between the ANSI and the data network. Such a GSM-ANSI                types including, but not limited to Publicly Switched Tele
data system then has three networks and three translators 55 phone Networks (PSTN), global system for mobile commu
translating between them.                                             nications (GSM) networks, American National Standards
   The use of three separate translators necessitates additional Institute (ANSI) networks, Public Wireless Local Area Net
equipment costs and involves the multiple entry of Subscriber works (PWLAN), and/or Internet Protocol (IP) networks, to
information. Further, there is an increase in the number of             name a few.
network based messages passing between the different com 60 FIG. 1 is a block diagram of an interoperability connection
ponents of the networks.                                     according to a system embodiment. In this embodiment, a
                                                             requesting station 101 is registered on serving network 102
       BRIEF DESCRIPTION OF THE DRAWINGS                     and is attempting to register in one or more other networks,
                                                             e.g. 104-1 to 104-N. The requesting station 101 is communi
   FIG. 1 is a block diagram of a system embodiment illus 65 cating through a serving network 102 and is utilizing an
trating a connection between a requesting station and a num interoperability node 103. The networks 102,104-1, to 104-N
ber of networks.                                             can be of any network type.
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 9 of 13 PageID #: 37


                                                       US 7,599,379 B2
                                3                                                             4
   The requesting station 101 is operable to interface with an However, the invention is not so limited and contact can be
interoperability node 103 that acts to consolidate the regis accomplished in any number of manners.
tration process on a number of networks by contacting the           FIGS. 2A and 2B illustrate an embodiment for the regis
available additional networks 104-1 to 104-N to identify any tration of a first requesting station 201 and a second request
additional actions in other protocols that are triggered by 5 ing station 205 on a number of networks. In the example
registration activities, even though the station is registered in shown in FIGS. 2A and 2B, a GSM network and an ANSI
another technology.                                               network are shown. The invention, however, is not limited to
   Additionally, the serving network 102 can also be a net the two types of networks.
work protocol on the station 101 operable to allow the station      The embodiments shown in FIGS. 2A and 2B generally
101 to communicate with one or more particular networks. If 10 illustrate a block diagram of an embodiment having first
the requesting station 101 is registered on the serving network requesting station 201, communicating through a GSM net
102, then a protocol specific registration process for register work infrastructure 202 and an interoperability node 203 to
ing the station 101 on the serving network 102 does not need register the first requesting station 201 on one or both of the
to be done.                                                           GSM network 202 and the ANSI network 204. The embodi
   However, if the requesting station 101 is not registered on 15 ments shown in FIGS. 2A and 2B also illustrate a second
the serving network 102, then in order to connect the request requesting station 205, communicating through an ANSI net
ing station 101 with another station over the serving network work infrastructure 204. As will be discussed more herein, an
102, the requesting station 101 will need to be registered on interoperability node 203 is operable to register the second
the serving network 102. To accomplish this, the serving requesting           station 205 on one or both of the ANSI network
network 102 performs a protocol specific registration process 204 and the GSM network 202.
that registers the requesting station 101 as an entity autho         Stations, as described herein, can include fixed or mobile
rized to communicate on the network 102.                          devices. These stations can be a part of or interface one or
   The interoperability node 103 acts to consolidate the reg more       networks in order to provide a communications session.
istration process on several networks by contacting the avail utilized as2Amobile
                                                                  In FIGS.      and 2B, the networks shown are operable to be
                                                                                      networks and the structure of these net
able networks, such as other networks 104-1 to 104-N in this
example, to determine if one or more of the networks are works             is described in detail below. However, the invention is
                                                                    not limited to the structures shown.
awaiting registration of the requesting station 101. If it is
determined that a network, e.g. one of the other networks tionFIG.           2A is a block diagram of an interoperability connec
104-1 to 104-N, is awaiting registration, then the interoper 30 a firstaccording     to a system embodiment. In this embodiment,
ability node 103 can provide properly formatted, protocol more networks, station
                                                                          requesting
                                                                                         e.g.
                                                                                                201 is attempting to register in one or
                                                                                              202   and/or 204. The first requesting
specific, information to the one or more other networks 104-1 station 201 is initially communicating               utilizing a serving
to 104-N to complete the registration process. Additionally,
the interoperability node 103 can provide properly formatted, network 202. The serving network shown in FIG. 2A is a
protocol specific, information to the serving network 102 or 35 GSM       network. However, the network 202 can be any network
to the station 101 to enable it to complete the registration also be ainnetwork
                                                                    known      the art. Additionally, the serving network 202 can
process with the one or more other networks 104-1 to 104-N. communicate withprotocol       one  or
                                                                                                   operable to allow the station 201 to
                                                                                                   more particular networks.
With the formatted protocol information, the one or more
other networks can then contact the requesting station regard ingIfnetwork
                                                                         the first requesting station 201 is registered on the serv
                                                                                   202, then the protocol specific registration pro
less of protocol and can deliver features, functionality, and/or 40 cess for registering   the station 201 on the serving network 202
service.
                                                                    does  not  need   to
   To accomplish this, the interoperability node 103 is oper station 201 is not registeredbe  done. However, if the first requesting
able to communicate with a number of different networks. In                                          on the serving network 202, then
                                                                    in order   to  connect    the  first
various embodiments, the interoperability node 103 can be another station, Such as second requesting     requesting station 201 with
located within the requesting station 101, the serving network 45 serving network 202, the first requesting station station 205, via the
102, at an external location, such as within another network,
                                                                                                                           201 must be
                                                                    registered on the serving network 202. To accomplish this, the
e.g. networks 104-1 to 104-N, or can be independent of any serving network 202 performs a protocol specific registration
network.
                                                                    process that registers the first requesting station 201 as an
   The interoperability node 103 can contact one or more entity authorized to operate on the network 202.
networks, such as 104-1 to 104-N, to determine whether a 50 Network 202 is interfaced with an interoperability node as
requesting station 101 is registered thereon. The one or more defined herein. A registration on a network can trigger the
networks can be operable to each return either a confirmation interoperability node 203 to contact one or more other avail
that the requesting station 101 has a registration identifier able networks, such as 204, to determine whether a first
associated with the network or reply that the requesting sta requesting station 201 is registered thereon. The interoper
tion 101 is not registered on the network.                       55 ability node 203 can identify any additional actions in other
   For example, the interoperability node 103 can contact the protocols or networks that are triggered by the registration
first other network 104-1 to ascertain whether the requesting activities even though the station is registering in another
station 101 has a registration identifier associated with the technology. The networks each return either a confirmation
network 104-1. The interoperability node is operable to check that the first requesting station 201 has a registration identifier
each network 102 and 104-1 to 104-N and can do so, for 60 associated with the network or reply that the first requesting
example, serially, by contacting each network individually station 201 is not registered on the network. For example, the
and waiting for an answer before contacting the next network. interoperability node 203 contacts the network 204 to ascer
The interoperability node can also check each network seri tain whether the first requesting station 201 has a registration
ally, for example, without waiting to hear an answer before identifier associated with the network 204.
contacting the next station. In various embodiments, the 65 As noted above, the network example shown in FIG. 2A is
interoperability node can also check the networks in parallel, a GSM network 202. The GSM network 202 embodiment of
by signaling a message to several networks simultaneously.          FIG. 2A illustrates a first requesting station 201 communi
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 10 of 13 PageID #: 38


                                                    US 7,599,379 B2
                              5                                                                  6
cating with a mobile switching center (MSC) 212 through a          example, ANSI governs the US standard for SS7, and Telcor
GSM air interface 207 with a base station 206, for example,        dia (Bellcore) provides an extension of ANSI for its member
via RF signals receivable by antenna 210. The heart of wire        companies.
less telecommunications networks. Such as the examples               The MAP based signal typically signaled over SS7 informs
shown in FIGS. 2A and 2B, is the MSC that is connected to a        the HLR216 of the network address associated with the MSC
plurality of base stations dispersed throughout the geographic 212 currently serving the mobile device 201 and also requests
area serviced by the network.                                    requisite subscriber information for providing mobile service
   The geographic area serviced by a wireless telecommuni to        the roaming mobile device 201. The HLR 216 updates its
cations network is partitioned into a number of spatially dis 10 MSC 212toand
                                                                 database     store the network address representing the serving
tinct areas called “cells. Each MSC is responsible for, among tion to the VLRalso222copies     the requested subscriber informa
                                                                                         associated   with the serving MSC 212.
other things, establishing and maintaining calls between sta The network address representing              the serving MSC 212
tions, such as between a mobile device and a wireline termi
nal, which is connected to the system via local and/or long to reroute any incoming call intendedby
                                                                 stored  in the HLR   216 is later utilized    the mobile network
                                                                                                             for the mobile device
distance networks. An MSC is a telephone switch specialized 15 201 to the serving MSC 212.
for wireless and mobility support. An MSC performs various          Accordingly, whenever a telecommunications Subscriber
functions, including mobility management, call handoffs, dials         a telephone number for the mobile device 201, the HLR
call admission, call control, resource allocation, and so forth. 216 is queried by the mobile network to determine the current
   In FIG. 2A, whenever a station, e.g. mobile device 201, location of the mobile device 201. Utilizing the stored net
activates or roams into a new MSC coverage area (i.e., the work address in HLR 216 representing the serving MSC 212,
“cell” for which the MSC is responsible), the new MSC the HLR 216 requests a roaming number from the serving
becomes the serving MSC 212. The station 201 transmits its MSC 212 in response to the receipt of the query signal. The
stored identity to the new serving MSC via a base station 206. roaming number provided by the serving MSC 212 is then
As shown in FIG. 2A, the subscriber identity information is used by the telecommunications network to route the incom
transmitted over a radio channel 208 in a format compliant 25 ing signal towards the serving MSC 212. The serving MSC
with an air interface standard and detected by an antenna 210 212 then pages the mobile device 201 and accordingly estab
of base station 206.                                               lishes a voice connection with the mobile device 201, if
   Base station 206, in turn, transmits the subscriber identity available.
information to the serving MSC 212, such as for example via        If the mobile device 201 roams out of the serving MSC 212
a communication line. The procedures and protocol for com 30 coverage area and into another MSC 224 coverage area, MSC
munication between the base station 206 and the MSC 212            212 will hand-off the communication to MSC 224 and base
have also been standardized. For an identification of industry        station 226. To ensure compatibility between two MSCs, the
standards relating to these communications, reference is              procedures and protocol for the format and transmission of
made to TIA/EIA/IS634-A., “MSC-BS Interface for Public                messages have been standardized.
Wireless Communication Systems.”                                   35
                                                                         In the example of mobile device call delivery, a visited
   In order to provide mobile service to the newly registered network tracks the location of a roaming user and a visitor
mobile device 201, the serving MSC 212 transmits a Mobile location register (VLR) reports that location information via
Application Part (MAP) based signal. Such as a registration a control network to the home location register (HLR) of the
update signal (GSM message), to a home location register 40 home network. Control networks may include ANSI/IS-41
(HLR) 216 via a signaling link Such as a signaling transfer and GSM MAP types of networks, among others. An authen
point (STP) 214. An STP is a node in the signaling system 7 tication center (AC) in a home network can be used for user
(SS7) telephone network that routes messages between registration and authentication, e.g., checking to see, among
exchanges and between exchanges and databases that hold other things, if the user has made payments. When a call,
subscriber and routing information. An HLR is one such relayed from the PSTN to the home mobile switching center
database in a cellular system that contains all the Subscribers 45 (MSC) is to be delivered to a subscriber, the home MSC
within the provider's home service area. The data in the HLR consults the HLR to determine the current whereabouts of the
is requested and transferred via SS7 to a visitor location subscriber, e.g. the current serving/visited MSC, and the call
register (VLR) 222 in the new area.                                   is then directed via links and the PSTN to the visited MSC
   In the embodiment of FIG. 2A, the STP214 can also route 50 currently serving the device.
the MAP based signal to a gateway MSC 218. The SS7                       Embodiments of the invention provide an interoperability
network sets up and tears down the call, handles all the rout node 203 to act as a registrar of a station on a number of
ing decisions and Supports all modem telephony services,              networks. In the embodiment shown in FIGS. 2A and 2B, the
such as local number portability (LNP). LNP allows a tele first requesting station 201 will, through the serving network
phone subscriber to port his/her phone number when that 55 202, ask the interoperability node 203 to check to see if the
subscriber relocates to a different region of the country, even first requesting station 201 is registered on the networks 202
when the local area code may be different. The voice switches and/or 204. The registration with one or more networks can
known as service Switching points (SSPs) query service con also triggeran interoperability node to identify any additional
trol point (SCP) 213 databases using STPs as packet switches. actions that may be waiting to be performed on the one or
   Accessing databases using a separate signaling network, 60 more networks.
e.g. SS7, enables the system to more efficiently obtain static           The interoperability node 203 can be an independent unit
information Such as the services a customer has signed up for as shown in the embodiment of FIG. 2A, or can be a part of
and dynamic information Such as ever-changing traffic con one of the networks 202 or 204 or station 201. If located
ditions in the network. In addition, a Voice circuit is not tied up within a network such as 202 or 204, the interoperability node
until a connection is actually made between both parties. 65 203 can be independent or can be integrated with another
   There is an international version of SS7 standardized by the element of the network such as the HLR, SCP, or STP. How
ITU, and national versions determined by each country. For ever, the location of the interoperability node is not so limited.
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 11 of 13 PageID #: 39


                                                     US 7,599,379 B2
                              7                                                                     8
  In FIG. 2B, an ANSI network 204 includes a second                    update location message, e.g. UPDLOC, is forwarded to the
requesting station 205 communicating with an MSC 232                   GSM HLR of a combined GSM HLR/ANSI HLR shown in
through an ANSI air interface 237 with a base station 236              FIG. 3 and described below.
having an antenna 240. As with the first requesting station 201          In the embodiment shown in FIG.3, the GSMHLR and the
of FIG. 2A, whenever a second requesting station, e.g. 205,            ANSIHLR are combined in GSMHLR/ANSIHLR303. This
activates or roams into a new MSC 264 coverage area (i.e., the         combined entity GSM HLR/ANSI HLR 303 includes an
“cell” for which the MSC is responsible), the new MSC 264              interoperability node that translates information between the
becomes the serving MSC. The station 205 transmits its                 at least two HLRs (there are two shown in this example, but
stored identity to the new serving MSC 264 via a base station          those skilled in the art will understand that a number of HLRs
266.                                                              10   can be combined or that an HLR can have an interoperability
  As shown in FIG. 2B, the subscriber identity information             node that can translate between two or more HLRs. If the
can be transmitted over a radio channel 208 in a format             GSM HLR and the ANSI HLR are independent elements, an
compliant with an air interface standard, e.g. ANSI/IS-41, interoperability node is interposed between the HLRs, can be
and detected by an antenna 240 of base station 236. Base resident in one of the HLRs, or independent.
station 236, in turn, can transmit the subscriber identity infor 15 The GSM HLR signals for the GSM MSC 312 to insert
mation to the serving MSC 232.                                      subscriber data, e.g. INSERT SUBDATA, for performing the
   In order to provide mobile service to the newly registered registration process. The GSM MSC 312 acknowledges the
mobile device 205, as the serving MSC 232, can transmit a request and signals the GSM HLR with subscriber data, e.g.
MAP based signal. Such as a registration notification signal INSERT SUBDATAACK.
(IS-41 message) to an HLR 246 via a signaling link Such as an          Since the networks can communicate differently at this
STP 244. The data in the HLR can be requested and trans stage of their communication, e.g. operate according to dif
ferred via SS7 to a VLR 262 in the new area.                        ferent protocols, the interoperability node can translate the
   In the embodiment of FIG. 2B, the STP 244 can be oper message such that the information communicated to the
able to route the MAP based signal to a gateway MSC 248. ANSI HLR is receivable and understandable, e.g. properly
The SS7 network can set up and tear down the call, handle all 25 formatted in the protocol of the ANSI network. If a single
the routing decisions, and Support all modem telephony Ser HLR is acting as both the GSM HLR and the ANSI HLR, as
vices, such as LNP. The SSPs can query SCP243 databases it is in the example of FIG. 3, then this message can be
using STPs as packet Switches.                                      signaled internally or may not need to be signaled.
   In the embodiment shown in FIGS. 2A and 2B, the first               The message is translated by the interoperability node con
requesting station 201 can communicate through the serving 30 necting the GSM HLR with the ANSI HLR. The GSM HLR
network 202 and can gain registration in a second network signals the GSMMSC 312 that the request for registration has
204 via an interoperability node 203. The interoperability been received and signals the necessary information to the
node 203 can also signal each of the other networks, e.g. GSM MSC 312 for the station to register on the ANSI net
second network 204 to trigger any actions that waiting are on work, e.g. UPD LOCACK.
the network 204 and directed to the station 201. For example, 35 The station then contacts the ANSI MSC 332 to request
the network 204 may be waiting to signal a text message to registration thereon, e.g. REGISTRATION. The ANSI MSC
station 201. The interoperability node can trigger the signal 332 provides a notice of the request for registration to the
ing of the text message from the network 204 to the station ANSI HLR, e.g. REG. NOT.
201.                                                                   A notice of the registration result is signaled from the ANSI
   Additionally, FIGS. 2A and 2B illustrate the connection of 40 HLR to the ANSI MSC332, e.g. REG. NOT. RET. RESULT.
a second requesting station 205 to the system. Similarly, this The ANSI MSC 332 updates the registration information and
second requesting station 205 can gain registration on both forwards it to the station and the hand-off is completed.
the GSM 202 and ANSI 204 networks through utilization of               FIG. 4 illustrates another embodiment of the information
the interoperability node 203 as described herein.                  exchange between network entities regarding the registration
   In this embodiment, the station 205 can communicate with 45 ofa station. In this figure, an ANSI network is communicating
network 204 to complete a protocol specific registration pro with a GSM network through an interoperability node.
cess. The information from that process can also be submitted          In the embodiment shown in FIG.4, the station (not shown)
to the interoperability node 203 to be dispersed to other net is registered on an ANSI network and is seeking registration
works, such as network 202, or information about the regis on a GSM network. Once the registration is performed on the
tration process for other networks, such as network 202, can 50 GSM network, the connection is handed off to the GSM
be supplied to the interoperability node 203, the station 205, network. In this embodiment, a message requesting registra
or to network 204 to enable the station 205 to be registered on tion, e.g. REGISTRATION, is initiated by the requesting
other networks, e.g. network 202.                                   station (not shown) to the MSC 432 of the ANSI network. A
   FIG. 3 illustrates an embodiment of the information              notice of the registration request message, e.g. REG. NOT, is
exchange between network entities regarding the registration 55 forwarded to the ANSIHLR of a combined GSMHLR/ANSI
of a station. In FIG.3, a GSM network is communicating with HLR shown in FIG. 4 and described below.
an ANSI network through an interoperability node. In this              In the embodiment shown in FIG.4, the ANSIHLRand the
embodiment, eachhorizontal arrow represents a communica GSMHLR are combined in GSMHLR/ANSI HLR403. This
tion within or between networks and the communication               combined entity GSM HLR/ANSI HLR 403 includes an
arrows are read from top to bottom.                              60 interoperability node that translates information between the
   In the embodiment shown in FIG.3, the station (not shown) HLRs as previously described with respect to FIG. 3.
is registered on a GSM network and is seeking registration on          The message is translated by the interoperability node con
an ANSI network. Once the registration is performed on the necting the GSM HLR with the ANSI HLR to obtain the
ANSI network, the connection is handed off to the ANSI              information necessary for registering in the GSM network.
network. In this embodiment, a message initiating registra 65 The ANSI HLR provides a registration return result signal,
tion, e.g. REGISTRATION, is initiated by the requesting e.g. REG. RET. RESULT, including appropriate information
station (not shown) to the MSC 312 of the GSM network. An for the station to perform the registration process.
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 12 of 13 PageID #: 40


                                                     US 7,599,379 B2
                              9                                                                    10
   The station then contacts the GSM MSC 412 to request               one or more network registrations. Some criteria that can be
registration thereon, e.g. REGISTRATION. The GSM MSC                  utilized to evaluate the preferred connection can include
412 provides a request for an updated location/registration to        speed of communication through a particular network, cost of
the GSM HLR, e.g. UPD. LOC.                                           transmission, and quality of transmission, among others.
   The GSM HLR signals for the GSM MSC 412 to insert                     The communication can also be conducted directly
subscriber data, e.g. INSERT SUBDATA, for performing the              between the station and the one or more networks on which
registration process. The GSM MSC 412 acknowledges the       the station is to be registered. In various embodiments, a
request and signals the GSM HLR with subscriber data, e.g.   translation protocol can, for example, be signaled from the
INSERT SUBDATAACK.                                           interoperability node 503 to a station or a particular network,
   The GSMHLR signals the GSMMSC412 that the request 10 e.g. 504-1, to allow the requesting station to communicate
for registration has been received and that registration has with the particular network. In the embodiment of FIG. 5,
been performed, e.g. UPD LOCACK. The GSM MSC 412 network 504-1 is illustrated signaling directly to the first
updates the registration information and forwards it to the network, e.g. GSM network502. In various embodiments, the
station and the hand-off is completed.                       ANSI network can be signaling its registration information to
  FIG. 5 illustrates the communication between several net 15 GSM network 502. However, the invention is not so limited.
works through an interoperability node. In the example                   Although specific embodiments have been illustrated and
shown, a requesting station (not shown), registered on a first        described herein, those of ordinary skill in the art will appre
network (labeled GSM) 502, is attempting to register on one           ciate that any arrangement calculated to achieve the same
of a number of other networks present. In the embodiment of           techniques can be substituted for the specific embodiments
FIG. 5, three other networks are shown, including 504-1,              shown. This disclosure is intended to cover any and all adap
504-2, and 504-N (labeled ANSI, WEB, and OTHER). How                  tations or variations of various embodiments of the invention.
ever, the invention is not limited to the number and/or the           It is to be understood that the above description has been made
types of networks illustrated in FIG. 5. Networks 504-1 to            in an illustrative fashion, and not a restrictive one. Combina
504-N represent other networks which may be available to the          tion of the above embodiments, and other embodiments not
station. In the embodiment of FIG. 5, networks 504-1 to 25 specifically described herein will be apparent to those of skill
504-N all have an interface capability to interface with the          in the art upon reviewing the above description. The scope of
interoperability node 503. In this embodiment, the first net          the various embodiments of the invention includes any other
work 502 signals the interoperability node 503 to register in         applications in which the above structures and methods are
one or more of the other networks 504-1 to 504-N. The                 used. Therefore, the scope of various embodiments of the
interoperability node 503 contacts the one or more networks 30 invention should be determined with reference to the
504-1 to 504-N to identify if the requesting station is regis appended claims, along with the full range of equivalents to
tered on one or more of the networks.                                 which such claims are entitled.
   Each contacted network responds either confirming that                It is emphasized that the Abstract is provided to comply
the station is registered or that it is not or even if registration with 37 C.F.R.S 1.72(b) requiring an Abstract that will allow
is available for the station on a particular network. If the 35 the reader to quickly ascertain the nature of the technical
station is not registered, the network, e.g. 504-1, performs a disclosure. It is submitted with the understanding that it will
protocol specific registration process with either the station not be used to limit the scope of the claims.
itself, the first network 502, or the interoperability node 503.         In the foregoing Detailed Description, various features are
The network, e.g. 504-1, then signals registration information grouped together in a single embodiment for the purpose of
to either the station itself, the first network502, or the interop 40 streamlining the disclosure. This method of disclosure is not
erability node 503.                                                   to be interpreted as reflecting an intention that the embodi
   In the embodiment of FIG. 5, this information can include          ments of the invention require more features than are
one or more identifiers, such as telephone numbers, Sub expressly recited in each claim. Rather, as the following
scriber identification numbers, domain names, IP addresses,           claims reflect, inventive subject matter lies in less than all
and/or actions to be taken on the network, among others. The 45 features of a single disclosed embodiment. Thus, the follow
registration information can also include status information, ing claims are hereby incorporated into the Detailed Descrip
for example, or whether the station or network is busy, among tion, with each claim standing on its own as a separate
others. This list, however, is not exhaustive and more or less        embodiment.
than all of the information listed can be provided in various           What is claimed:
embodiments.                                                     50
   Embodiments of the interoperability node 503 can be oper             1. A wireless system, comprising:
able to map all identifiers received from the different net             multiple different network protocols; and
works, i.e. 502 and 504-1 to 504-N, to each other to thereby            an interoperability node operable on the system to:
provide a listing of possible network connections available                communicate with the multiple different network proto
for the requesting station.                                  55              cols;
   Embodiments of the interoperability node 503 can provide                consolidate the registration process on the multiple dif
all or some of the information described above, e.g. informa                  ferent network protocols; and
tion from all networks that are not busy, to the serving net               register a station pending registration at one of the mul
work 502 or station in an appropriate format to successfully                  tiple different network protocols by:
confirm the registration on the one or more other networks, 60                identifying a particular protocol specific registration
e.g. 504-1 to 504-N. In various embodiments, this communi                        process from a number of protocol specific regis
cation can be conducted through the interoperability node                        tration processes;
503, where the node 503 translates information such that the                  utilizing the particular protocol specific registration
networks can understand each other.                                              process to directly access information from a net
  Additionally, one or more of the first requesting station, 65                  work being signalled; and
serving network 502, and/or interoperability node 503 can be                  completing the particular protocol specific registra
operable to determine a preferred connection based upon the                      tion process based upon the accessed information.
Case 2:23-cv-00444-JRG Document 1-2 Filed 09/27/23 Page 13 of 13 PageID #: 41


                                                    US 7,599,379 B2
                              11                                                                12
   2. The system of claim 1, wherein the interoperability node       12. A wireless architecture, comprising:
is operable to identify additional actions triggered, by the         a global system for mobile communications (GSM) net
registration of the station, in one or more of the multiple             work operable to connect to a mobile device;
different network protocols wherein the station is not regis         a voice network operable to connect to a mobile device;
tered.                                                               a data network operable to connect to the mobile device:
   3. The system of claim 1, wherein the interoperability node          and
is operable to alert the station that the station has been regis     logic means operable on the architecture to:
tered in one of the multiple different network protocols.               communicate with the GSM, Voice and data network;
   4. The system of claim 1, wherein the interoperability node          consolidate the registration process on the GSM, voice
is operable to communicate a compatible registration format 10            and data networks; and
to the station.                                                        register a station with one or more of the GSM, voice and
   5. The system of claim 1, wherein the interoperability node            data networks by:
is operable to complete the protocol specific registration pro            identifying a particular protocol specific registration
cess with one of the multiple different network protocols.                   process from a number of protocol specific regis
   6. The system of claim 5, wherein the multiple different 15               tration processes;
network protocols are each operable to communicate directly               utilizing the particular protocol specific registration
with a station once registration has been achieved.                          process to directly access information from a net
   7. A wireless architecture, comprising:                                   work being signaled; and
   a first network type operable to communicate with a sta                completing the particular protocol specific registra
      tion; and                                                              tion process based upon the accessed information.
   an interoperability node operable on the architecture to:        13. The architecture of claim 12, wherein logic means
      communicate with multiple different network protocols: includes logic means operable to communicate that the sta
      consolidate the registration process on multiple different tion has been registered on one of the GSM, voice and data
         network protocols; and                                   networks.
      register a station in one or more other network types by: 25 14. A method for wireless operation between a voice net
         identifying a particular protocol specific registration work and a data network, comprising:
            process from a number of protocol specific regis        interfacing a global system for mobile communications
            tration processes;                                         (GSM) network, a voice network, and a data network to
         utilizing the particular protocol specific registration       an interoperability node;
            process to directly access information from a net 30 signaling the interoperability node to register a station at
            work being signaled; and                                   one of the GSM, Voice and data networks:
         completing the particular protocol specific registra       identifying a particular protocol specific registration pro
            tion process based upon the accessed information.          cess from a number of protocol specific registration
  8. The wireless architecture of claim 7, wherein the                  processes;
interoperability node is registered within a service control 35      utilizing the particular protocol specific registration pro
point (SCP) in an American National Standards Institute                 cess to directly access information from the network at
(ANSI) network type.                                                    which the station is to be registered;
  9. The wireless architecture of claim 7, wherein the               completing the particular protocol specific registration
interoperability node is registered within a signal transfer            process based upon the accessed information; and
point (STP) in an American National Standards Institute 40           signaling to the interoperability node that the station has
(ANSI) network type.                                                    been registered.
  10. The wireless architecture of claim 7, wherein the              15. The method of claim 14, wherein the method further
interoperability node is registered within a service control includes alerting the station that the registration has been
point (SCP) in a global system for mobile communications achieved.
(GSM) network type.                                         45   16. The method of claim 15, wherein the method further
   11. The wireless architecture of claim 7, wherein the       includes transmitting a compatible registration format to the
interoperability node is operable to complete the protocol station.
specific registration process with one of the other network
types.
